                     Case 2:21-mj-00429-MLP
AO 106 (Rev. 04/10) Application                                  Document
                                for a Search WarranW 0RGLILHG:$:'   1 Filed 07/23/21 Page 1 of 15


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Western District
                                                      __________        of Washington
                                                                 District  of __________

              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )          Case No.       MJ21-429
   the SUBJECT PARCEL bearing tracking number                           )
EJ680603661US, more fully described in Attachment A                     )
                                                                        )

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
USPS parcel bearing tracking number EJ680603661US, more fully described in Attachment A, incorporated herein by reference,


located in the             Western                District of            Washington              , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                           Offense Description
          21 U.S.C. § 841(a)(1)                    Distribution and Possession with Intent to Distribute Controlled Substances
          21 U.S.C. § 843(b)                       Unlawful Use of Communication Facility to Facilitate Trafficking of Controlled Substance

          The application is based on these facts:
          ✔ See Affidavit of Postal Inspector Mitchel Vanicek, continued on the attached sheet.

              Delayed notice of      days (give exact ending date if more than 30 days:                                  LVUHTXHVWHG
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

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                                                                                                 Applicant’s signature

                                                                                          Mitchel Vanicek, Postal Inspector
                                                                                                Printed name and title

      7KHIRUHJRLQJDIILGDYLWZDVVworn to before me and signed in my presenceRU
      7KHDERYHQDPHGDJHQWSURYLGHGDVZRUQVWDWHPHQWDWWHVWLQJWRWKHWUXWKRIWKHIRUHJRLQJDIILGDYLWE\WHOHSKRQH

Date:            07/23/2021
                                                                                                   Judge’s signature

City and state: Seattle, Washington                                              Michelle L. Peterson, United States Magistrate Judge
                                                                                                Printed name and title


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 1 STATE OF WASHINGTON                  )
                                        )
 2
     COUNTY OF KING                     )
 3
 4                                           AFFIDAVIT
 5         I, Mitchel Vanicek, being first duly sworn on oath, depose and say:
 6                                          BACKGROUND
 7         1.       I am a United States Postal Inspector with the United States Postal
 8 Inspection Service, assigned to the Seattle Division Headquarters office in Seattle,
 9 Washington, and have been employed as a Postal Inspector for fifteen years. I am
10 authorized to conduct investigations on behalf of the United States Postal Inspection
11 Service. I have previously conducted investigations involving federal violations of Title
12 18, United States Code, Sections 1956(a)(1) (laundering of monetary instruments), 1343
13 (wire fraud), 1344 (bank fraud), and other federal crimes. I have previous experience
14 regarding the collection and analysis of computer evidence in relation to criminal
15 investigations. I have received extensive training in financial crimes investigations
16 including: Financial Records Examination and Analysis, Interview and Interrogation
17 Techniques, Bank Secrecy Act Data and Funds Transfers, Money Laundering, Fraud and
18 Identity Theft, the Dark Web, and other Financial Crimes-related trainings, seminars,
19 conferences, and events.
20         2.       Duties, Training & Experience. As part of my duties, I investigate the
21 use of the U.S. mails to illegally mail and receive controlled substances, the proceeds of
22 drug trafficking, as well as other instrumentalities associated with drug trafficking, in
23 violation of Title 21, United States Code, Sections 841(a)(1) (distribution and possession
24 with intent to distribute controlled substances), and 843(b) (unlawful use of a
25 communication facility, including the U.S. mails, to facilitate the distribution of
26 controlled substances and proceeds from the sale thereof). As set forth below, my
27 training and experience includes identifying parcels with characteristics indicative of
28 criminal activity. During the course of my employment with Postal Inspection Service, I
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 1 have participated in many criminal investigations involving suspicious parcels and
 2 controlled substances.
 3         3.       The information contained in this affidavit is based upon knowledge I
 4 gained from my investigation, my personal observations, my training and experience, and
 5 investigation by other law enforcement officers. Because the purpose of this affidavit is
 6 limited to setting forth probable cause to search the SUBJECT PARCEL described
 7 below, I have not set forth every fact of which I am aware pertaining to the investigation.
 8         4.       Through my training and experience, I am aware the United States Postal
 9 Service (USPS) mail system is often used to transport controlled substances and/or the
10 proceeds from the sale of controlled substances throughout the United States. I have
11 learned and observed that sometimes drug traffickers put controlled substances and
12 proceeds in the same parcel. I also know drug traffickers prefer mail/delivery services
13 such as Express and Priority Mail because of the reliability of these services, as well as
14 the ability to track the article’s progress to the intended delivery point. When a drug
15 trafficker learns a mailed article has not arrived as scheduled, he/she can become
16 suspicious of any delayed attempt to deliver the item.
17         5.       In addition, I am aware the USPS Express and Priority Mail services were
18 custom-designed to fit the needs of businesses by providing overnight delivery for time
19 sensitive materials. Business mailings often contain typewritten labels, are in flat
20 cardboard mailers, and usually weigh less than eight (8) ounces. In addition, businesses
21 using corporate charge accounts print their account number on the Express and Priority
22 Mail label in order to expedite transactions with USPS.
23         6.       Based on my training and experience concerning the use of Express and
24 Priority Mail for the transportation of controlled substances and/or proceeds, I am aware
25 that these parcels usually contain some or all of the following characteristics (which are
26 different than characteristics of parcels being sent by legitimate businesses):
27                  a.    Unlike typical Express and Priority Mail business mailings which
                          usually have typed labels, parcels containing controlled substances
28
                          and/or proceeds often have handwritten address information. In
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 1                        addition, the address information often contains misspelled words or
                          incomplete/incorrect addresses. This is done in an effort to help
 2
                          conceal the true identities of the individuals involved.
 3
                    b.    The handwritten label on Express and Priority Mail parcels
 4
                          containing controlled substances and/or proceeds do not contain a
 5                        business account number and/or credit card number. This often
                          indicates that the sender likely paid cash. A credit card or business
 6
                          account number would more likely enable law enforcement officers
 7                        to connect the parcel to identifiable individuals.
 8
                    c.    Express and Priority Mail parcels containing controlled substances
 9
                          and/or proceeds are often distinguishable from typical business
10                        mailings as they do not bear any advertising on the mailing
                          container/box, and are typically mailed from one individual to
11
                          another.
12
13                  d.    The sender and/or recipient addresses on Express and Priority Mail
                          parcels containing controlled substances and/or proceeds are often
14
                          either fictitious, or are persons not associated with the addresses
15                        listed in USPS or law enforcement databases.
16
                    e.    The zip codes for the sender addresses on Express and Priority Mail
17
                          parcels containing controlled substances and/or proceeds are often
18                        different from the zip codes of the post offices from where the
                          parcels were mailed.
19
20
                    f.    Express and Priority Mail parcels containing controlled substances
21                        and/or proceeds are often heavily taped with tape on the seams of the
                          parcel, in an apparent effort to conceal scent.
22
23
                    g.    Express and Priority Mail parcels containing controlled substances
24                        and/or proceeds often include a waiver of signature requirement
                          upon delivery.
25
26         7.       Agents who encounter a parcel with any or all of the above characteristics
27 often further scrutinize the parcel by, among other tactics, conducting address
28
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 1 verifications using law enforcement databases and conducting trained narcotic-detecting
 2 canine examinations.
 3                                  ITEM TO BE SEARCHED
 4         8.       As set forth in Attachment A, this affidavit is made in support of an
 5 application for a search warrant for one USPS Priority Mail Express parcel, hereinafter
 6 referred to as the “SUBJECT PARCEL.” The SUBJECT PARCEL is believed to contain
 7 controlled substances or proceeds from the sale of controlled substances. The SUBJECT
 8 PARCEL is further described as follows: One Priority Mail Express parcel addressed to
 9 “Tyrin James, 2430 96th ST S APT G20, Tacoma, WA 98444,” with a return address of
10 “Nevaeh Rod, 5302 Indio Cir #B, ATX 78745.” This parcel is a Priority Mail Express
11 parcel measuring approximately 17.5” x 14” x 10.5”. The parcel weighs approximately 5
12 pounds and 3 ounces. This parcel is postmarked July 14, 2021, from Austin, Texas, and
13 carries $79.55 in postage. The tracking number associated with the parcel is
14 EJ680603661US.
15                                        ITEMS TO BE SEIZED
16         9.       As set forth in Attachment B, the application requests that law enforcement
17 officers and agents be authorized to seize the following from the SUBJECT PARCEL,
18 which constitute the fruits, instrumentalities, and evidence of mailing and distribution of
19 controlled substances in violation of Title 21, United States Code, Sections 841(a)(1)
20 (distribution and possession with intent to distribute controlled substances) and 843(b)
21 (unlawful use of a communication facility, including the U.S. mails, to facilitate the
22 distribution of controlled substances):
23                  a.     Controlled substances, including, but not limited to, cocaine, crack
                           cocaine, heroin, hashish, marijuana, methamphetamine, MDMA,
24
                           methadone, fentanyl, oxycodone, and Oxycontin;
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                    b.     Monetary instruments, including but not limited to, currency, money
26                         orders, bank checks, or gift cards;
27
                    c.     Controlled substance-related paraphernalia;
28
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 1                d.     Documentary evidence relating to the purchase, sale, and/or
                         distribution of controlled substances;
 2
 3                e.     Notes, letters and other items which communicate information
                         identifying the sender and/or recipient or pertaining to the contents
 4                       of the mailing; and
 5
                  f.     Fingerprints and/or handwriting, to identify who handled and/or
 6                       mailed the parcel.
 7
                                    THE INVESTIGATION
 8
 9         10.    On July 15, 2021, the U.S. Postal Inspection Service was conducting an
10 interdiction, investigating parcel information in many parts of Washington State,
11 including Tacoma, WA. The emphasis for the interdiction was targeting inbound Express
12 and/or Priority Mail parcels and envelopes possibly containing narcotics and/or monetary
13 proceeds derived from illegal drug trafficking activity.
14         11.    The SUBJECT PARCEL was initially identified as a suspicious parcel
15 because it is marked with a handwritten label, which does not contain any business
16 account information. In addition, the SUBJECT PARCEL was shipped from Austin,
17 Texas. I know through my training and experience that Texas is a destination state for
18 marijuana parcels shipped from the source state of Washington and an origin state for
19 marijuana proceeds shipped to Washington. Postage for the SUBJECT PARCEL was
20 paid in cash. I know through my training and experience that these are tactics commonly
21 used by drug traffickers using the U.S. mails in an attempt to elude detection by law
22 enforcement. Additionally, I recognized the recipient address from two additional
23 parcels I identified as suspicious earlier in the week going to Tyrin James, 2430 96th ST
24 S APT G20, Tacoma, WA 98444. I requested the two previous parcels be sent to my
25 office in Seattle, WA. They arrived on July 15, 2021. I applied for and received a
26 federal search warrant for both parcels on July 19, 2021, under case numbers MJ21-418
27 and MJ21-419. I served those warrants the same day and found $13,250 in one parcel
28 and $4,485 in the other. The currency in both parcels was concealed in a manner
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 1 consistent with drug trafficking. The parcel with $13,250 had a strong smell of
 2 marijuana. The other did not.
 3         12.    On July 15, 2021, I telephoned a supervisor at the Tacoma Parkland Station
 4 Post Office and requested that he overwrap the SUBJECT PARCEL and mail it to my
 5 office in Seattle, WA. On July 20, 2021, the SUBJECT PARCEL arrived at my office.
 6 The supervisor who mailed the parcel to me had placed a new mailing label directly over
 7 the old label, and a new postal validation imprinter (PVI) label over the existing one. He
 8 also wrote “Official” in red ink on the outside of the parcel. I was successful in removing
 9 the new PVI label to reveal to old PVI label. I was unable to remove the new shipping
10 label and leave the old label intact. From what was left of the label I was able to read
11 “Nevaeh……. 5302…… ATX” normally as the return address. I was able to see the
12 reverse of the rest of the return address. Using a camera I was able to take a picture of
13 the reverse and invert it to read “Nevaeh Rod, 5302 Indio Cir #B, ATX 78745.” I was
14 able to remove the new label in matter which revealed the recipient address of “Tyrin
15 James, 2430 96th ST S, APT G20 Tacoma, WA 98444.” Please note the “T” in Tyrin and
16 the “2” in 2430 are partly obscured from my removing the new label. However, I can see
17 both the “T” and the “2” in what bled through onto the parcel. I was also able to clearly
18 find the tracking number of EJ680603661US. To avoid the possibility of confusing this
19 parcel for another, I placed my initials and date on the parcel to the right of the red word
20 official written by the supervisor and below the PVI label. The following photographs
21 more clearly show the label condition.
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11         13.    THE SUBJECT PARCEL arrived at the USPS sorting facility in Tukwila,
12 WA on July 15, 2021.
13         14.    Using USPS and law enforcement databases, I researched the sender
14 address. I learned that the address “5302 Indio Cir #B, Austin, TX 78745” is a true and
15 deliverable address but I was unable to associate Nevaeh Rod with the address. I was
16 further unable to associate anyone with the last name “Rod” or any similar names to
17 Nevaeh to the address. However, I was able to associate Javier Rodriguez to the address.
18 Mr. Rodriguez has two prior convictions for possession of controlled substances.
19         15.    Using USPS and law enforcement databases, I researched the recipient
20 address. I learned that the address “2430 96 ST S APT G20, Tacoma, WA 98444” is a
                                               th


21 true and deliverable address. I was able to associate Tyrin James with the address
22         16.    On July 21, 2021, I requested the assistance of Customs and Border
23 Protection Officer Kristina Johnson and her trained narcotics detection dog “Remi.” On
24 July 21, 2021, I met Officer Johnson at the United States Post Office located at 10700
25 27th AVE S, Tukwila, WA 98168. At approximately 10:00 AM, Officer Johnson and
26 Remi searched a large warehouse room at the aforementioned Post Office. Officer
27 Johnson told me the dog did not alert to any odors of narcotics. At approximately 10:07
28 AM, I placed the SUBJECT PARCEL in the same warehouse room out of the view of
     AFFIDAVIT OF MITCHEL VANICEK - 8                                     UNITED STATES ATTORNEY
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 1 Remi and Officer Johnson. At approximately 10:08 AM, Officer Johnson again searched
 2 the warehouse room with her narcotics detection dog Remi. At approximately 10:10
 3 AM, Officer Johnson observed an immediate change in Remi’s posture and behavior
 4 when Remi performed a “sit,” which alerted to the odor of narcotics emanating from
 5 where I had hidden the SUBJECT PARCEL. Attachment C, attached hereto and
 6 incorporated by reference herein, contains an affidavit detailing Officer Johnson’s
 7 training and experience with canine Remi.
 8         17.    The SUBJECT PARCEL was referred to me for further investigation and
 9 search warrant preparation and is currently stored at the U.S. Postal Inspection Service
10 office located at 301 Union Street, Seattle, WA 98101.
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     AFFIDAVIT OF MITCHEL VANICEK - 9                                      UNITED STATES ATTORNEY
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1                                         CONCLUSION
2           18.    Based on the facts set forth in this affidavit, including Attachment C, I
3 believe there is probable cause to conclude that the SUBJECT PARCEL, more fully
4 described in Attachment A, contains controlled substances, currency, documents, or other
5 evidence, more fully identified in Attachment B, that relates to the mailing and
6 distribution of controlled substances, in violation of Title 21, United States Code,
7 Sections 841(a)(1) (distribution and possession with intent to distribute controlled
8 substances) and 843(b) (unlawful use of a communication facility, including the U.S.
9 mails, to facilitate the distribution of controlled substances).
10
11
12
                                               Mitch Vanicek, Affiant
13
                                               U.S. Postal Inspector
14                                             United States Postal Inspection Service
15
            The above-named agent provided a sworn statement attesting to the truth of the
16
     contents of the foregoing affidavit by telephone on this 23rd day of July, 2021.
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20                                             HON. MICHELLE L. PETERSON
                                               United States Magistrate Judge
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      AFFIDAVIT OF MITCHEL VANICEK - 10                                       UNITED STATES ATTORNEY
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1                                     ATTACHMENT A
                                      Parcel to be searched
2
3          One Priority Mail Express parcel addressed to “Tyrin James, 2430 96th ST S APT
4 G20, Tacoma, WA 98444,” with a return address of “Nevaeh Rod, 5302 Indio Cir #B,
5 ATX 78745.” This parcel is a Priority Mail Express parcel measuring approximately
6 17.5” x 14” x 10.5”. The parcel weighs approximately 5 pounds and 3 ounces. This
7 parcel is postmarked July 14, 2021, Austin, Texas and carries $79.55 in postage. The
8 tracking number associated with the parcel is EJ680603661US. This parcel is currently
9 stored at the U.S. Postal Inspection Service office located at 301 Union Street, Seattle,
10 WA 98101.
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     ATACHMENT A                                                           UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     PARCEL TO BE SEARCHED
                                                                            SEATTLE, WASHINGTON 98101
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 1                                     ATTACHMENT B
 2                                       Items to be seized
 3
 4         The following items that constitute evidence, instrumentalities, or fruits of
 5 violations of Title 21, United States Code, Sections 841(a)(1) and 843(b):
 6               a.      Controlled substances, including, but not limited to, cocaine, crack
 7                       cocaine, heroin, hashish, marijuana, methamphetamine, MDMA,
                         methadone, fentanyl, oxycodone, and Oxycontin;
 8
 9               b.      Monetary instruments, including but not limited to, currency, money
                         orders, bank checks, or gift cards;
10
                 c.      Controlled substance-related paraphernalia;
11
12                d.     Documentary evidence relating to the purchase, sale, and/or
                         distribution of controlled substances;
13
14                e.     Notes, letters and other items which communicate information
                         identifying the sender and/or recipient or pertaining to the contents
15                       of the mailing; and
16
                  f.     Fingerprints and/or handwriting, to identify who handled and/or
17                       mailed the parcel.
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     ATACHMENT B                                                             UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
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                                                                              SEATTLE, WASHINGTON 98101
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